Case 1:07-cv-01205-LG-RHW Document 358-3

Filed 04/01/10

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HARRISON COUNTY g
SHERIFF'S OFFICE ., aida
“P71 ET JUVENILE INVOLVED OFFENSE FORM I : | INCIDENT NUMBER 05-24278
1. Type Offense 2. Code 3. Type Offense 4, Code 5. Offense Occurred
0 | PUBLIC DRUNK 24) Earliest Latest
F 6. Date Offense Reported 7. Time Offense Reporied Date Date
= |11-06-05 1929 HOURS 11-06-05 11-06-05
wy [8. Location of Offense (Street Address) Time Time
s {18009 TILLMAN RD. GULFPORT, MS 39563 1929 1953
E |9. Firm Name (if Commercial) 10. Grid 41. Patrol Area 12. Shift 13, Day(s) of Week Occured
CHOPPERS LOUNGE N/A {S. WEST MIDNIGHT MITWTES
Vv 14, Victim's Name (Last, First, Middie) 15. Residence Address ~ 16. Res. Phone
!
¢ ! 17. Victim DOB 4B. Sex [" 9. Race {20 Employer!School |? Business/Schoal Address 22. Bus. Phone
t 23. OV ME RP | 24. Name (Last, First, Middle} 25, Residence Address 26. Res. Phone
M > MWOP | RANDAZZO, THOMAS SSN se 0arED 1906 46TH AVE. GULFPORT, MS 39501 228-547-4393
& 27, DOB | 28. Sex i Race | 30, Employar/School | 31. Business/School Address 32, Bus. Phone
wi M.. WwW CHOPPERS LOUNGE -_| 18009 TILLMAN RD. GULEPORT; MS 39503 UNKNOWN
k 33. T1V ERP j 34, Name, (Last, First, Middle) 35. Residence Address 36, Res. Phone
T woe |ALLEN, KENNETH N. TLE ON FILE -
N 3 37. DOB 38.Sex {39.Race | 40. Empioyer/Schoal . 41, Business/School Address 42, Bus, Phone
Ee] | ON FILE Ww HARRISON CO, SHERIFF DEPT, P.O. BOX 1480 GULFPORT, MS 228-865-7060
$ - = :
§ 43, Victim/Suspect Relationship o a a Stranger do 5 ad Acquaintance G 4 a Relative a Diag Relea
45. Status-| 46 Oty | 47 Articie 48. Brand, Make or 49, Model Name 50, Description 51. Serial No. And/Or | 52. Value
Manufacturer and Number (Color/Size) ____ Owner Applied No, <
OES
MR Op
GOeas
EIR Ep -
PiOeqs .
R {ORD .
“eo Tre as-|-— weno Te ereeeef oe weve aps come a notes
= OROpb
R DOe& Qs
T ORrRoOo
y /Oleds
OR fp
QOeds
Vv Ortip
& FVEHICLE { 53. License No. - 54. State 55. Veh. Yr. 56. Make/Style 57, Mode!
Hf/OEOS
1 (OR Gio
G 460. VIN-Number 61. Vehicle Marks} Damage/ Decals/Comments
L
E
62. Nanalive of Offense (Attach Additional Narrative If Needed) . . . /
ON 11-06-05 DEPUTY ALLEN RESPONDED TO CHOPPER LOUNGE IN REFERENCE A DRUNK AND DISGRDERL)
COMPLAINT. UPON ARRIVAL DEPUTY ALLEN SPOKE TO THOMAS RANDAZZO WHO STATED THAT A WHITI
N [MALE, LATER IDENTIFIED AS GARY MCBAY, WAS DISTURBING THE BUSINESS AND ASKED TO LEAVE. MR
fn RANDAZZO SAID THAT HE WATCHED AS MR. MCBAY WAS LEAVING AND NOTICED HIM FALLING OVER ANT
R [HITTING OTHER VEHICLES. MR. RANDAZZO TOLD MR. MCBAY THAT HE DID NOT NEED TO BE DRIVING AND TC
4 WAIT FOR THEM TO CALL HIM A TAXL MR. RANDAZZO STATED THAT MR. MCBAY THEN ATTEMPTED: TC
1 {ASSAULT HIME MR. RANDAZZO THEN GRABBED MR. MCBAY AND HELD HIM DOWN UNTIL THE SHERIFF'S DEPT
x ARRIVED. DEPUTY ALLEN OBSERVED MR. RANDAZZO SETTING ON TOP OF MR. MCBAY AND NOTICED THAT MR
MCBAY HAD A BLOODY NOSE. AMR RESPONDED AND MR. MCBAY REFUSED ANY TREATMENT. DEPUTY ALLED
THEN PLACED MR. MCBAY INTO CUSTODY AND TRANSPORTED HIM TO THE JAIL. MR. MCBAY WAS CHARGEL
WITH PUBLIC DRUNK. :
63, Evidence Disposition (Location) 634. ComplainantVictim
Signature:
64. MOL (Reverse Side) CODE CODE } 65. OFFENSE STATUS
. 1. Type of Premise - EF 7. Weapon Type = OPEN CLOSED
2 Object of tack =| 2.use oteapon =| Becbamrecewaaee 12 ieee acu rest
N 3. Point of Entry - ’ 9. Method of Departure Cc O 86 Detective Follow-Up EJ 30 Cleared Juvenite Custody
° 4, Method of Entry x 10. Demeanor of Suspect F a wee 5 a oereg excep Seeption
. §. Method of Attack (Person) = 11. Evidence Obtained > DO Will Sign Later EA 70 Unfounded
8, Method of Attack (Property) - 12, Place of Offense Cc
: ~ 143. Solvability Factors A
68. Reporting Officer N. ALLEN . 187. Division ATROL 88. eye Su rvigor: ( i ah pe
70, Follow-Up Officer. 74. Daie/Time Assigned 72. Attachments V O Narative (1 Other , ,
No. < Name (1 Offense Form i! if Custody Form (Describe)
EXHIBIT
* V-Victim RP-Reporting Party ss one Records nalysis Pine Couticin Page Ol of 02

W-Witness P-Parent

Blumberg No, 5208

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